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 5   Interim Class Counsel for the                        Interim Class Counsel for the
     Advertiser Class                                     Advertiser Class
 6
                                 UNITED STATES DISTRICT COURT
 7                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
 8
     MAXIMILIAN KLEIN, et al., on behalf of                    Case No. 20-cv-08570-JD
 9   themselves and all others similarly situated,
                                                               The Hon. James Donato
10            Plaintiffs,
                                                               CIVIL ACTION
11          v.
12                                                             DECLARATION OF KRISTEN M.
     META PLATFORMS, INC.,
                                                               ANDERSON REGARDING
13            Defendant.                                       COMPLIANCE WITH DKT. NO. 263
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                            Declaration of Kristen M. Anderson - Case No. 20-CV-08570-JD
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 1          Pursuant to 28 U.S.C. §1746, I, Kristen M. Anderson, declare:

 2          1.      I am a partner at Scott+Scott Attorneys at Law LLP and am licensed in the State of

 3   California and admitted to the United States District Court for the Northern District of California.

 4   I have personal knowledge of the facts set forth herein and, if called as a witness, could and would

 5   testify competently to them.

 6          2.      On March 18, 2022, the Court appointed Yavar Bathaee of Bathaee Dunne LLP

 7   and me as Interim Class Counsel for the Advertiser Class in the above-captioned matter. Dkt. No.

 8   43.

 9          3.      On February 23, 2022, Defendant Meta Platforms Inc. (“Meta”) moved to compel,

10   among other things, Advertiser Plaintiffs to respond to Interrogatory No. 1 of Meta’s First Set of

11   Interrogatories to Advertiser Plaintiffs concerning identification of participants in the Social

12   Advertising Market (“Interrogatory No. 1”). Dkt. No. 230.

13          4.      On March 21, 2022, Advertiser and Consumer Plaintiffs jointly opposed Meta’s

14   motion to compel. Advertiser Plaintiffs opposed on the grounds that given the early stage of fact

15   discovery, Interrogatory No. 1 is a premature contention interrogatory that seeks information that

16   will be the subject of expert discovery. Dkt. No. 259.

17          5.      On March 23, 2022, the Court ordered lead counsel for the parties to meet and

18   confer on a resolution to the issues briefed in Dkt Nos. 230 and 259. Further, the Court ordered

19   that unless lead counsel are more than 100 miles apart, a video access platform may be used and

20   that the conference shall be held for a minimum of four hours and may be terminated earlier only

21   if all disagreements have been resolved. Dkt. No. 263. This declaration is made pursuant to the

22   Court’s Order at Dkt. No. 263 requiring lead counsel for each of the parties to certify compliance

23   with that Order.

24          6.      On April 8, 2022, lead counsel for the parties met and conferred regarding the

25   discovery disputes raised in Dkt Nos. 230 and 259 from 1:30 p.m. until 6 p.m. EST. Mr. Bathaee

26   and I met with David Gringer, counsel for Meta, in person at the New York, New York office of

27   Wilmer Cutler Pickering Hale and Door, LLP. Other lead counsel, including Stephen A. Swedlow

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                          Declaration of Kristen M. Anderson - Case No. 20-CV-08570-JD
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 1   of Quinn Emanuel Urquhart & Sullivan LLP, Shana A. Scarlett of Hagens Berman Sobol Shapiro

 2   LLP, and Sonal Mehta of Wilmer Cutler Pickering Hale and Door, LLP, all located more than 100

 3   miles outside of New York, New York, participated in the meet and confer via video access platform.

 4          7.      During the meet and confer, Meta and Advertiser Plaintiffs reached a resolution

 5   regarding Interrogatory No. 1. Advertiser Plaintiffs agreed to supplement their response to identify

 6   participants in the Social Advertising Market based on the information they have at present, subject

 7   to any need to supplement later based on further discovery and analysis.

 8          I declare under penalty of perjury that the foregoing is true and correct.

 9   Dated: April 15, 2022                  s/ Kristen M. Anderson
                                           KRISTEN M. ANDERSON
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                        DECLARATION OF KRISTEN M. ANDERSON - CASE NO. 20-CV-08570-JD
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on April 15, 2022, I authorized the electronic filing of the foregoing

 3   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 4   to the e-mail addresses denoted on the Electronic Mail Notice List. All parties not so registered

 5   will be served via e-mail or U.S. Mail.

 6          Executed on April 15, 2022, at New York, New York.

 7
                                                   s/ Kristen M. Anderson
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                                                  KRISTEN M. ANDERSON (CA 246108)
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                        DECLARATION OF KRISTEN M. ANDERSON - CASE NO. 20-CV-08570-JD
